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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

 Ramona Thurman Bivins
    Plaintiff,
       v.                                    CIVIL ACTION FILE
                                             NO. 1:22-cv-4149-WMR

 Felicia Franklin in her individual and
 official capacities, et al
    Defendants.


       STANDING ORDER REGARDING CIVIL LITIGATION

      This case has been assigned to Judge William M. Ray, II. The purpose

of this Order is to inform the parties and their counsel of the Court's policies,

procedures, and practices. It is issued to promote the just and efficient

determination of the case. This Order, in combination with this Court's Local

Rules and the Federal Rules of Civil Procedure, shall govern this case.




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I.    CASE ADMINISTRATION

      a.      Contacting Chambers

      Sherri Lundy is your principal point of contact on matters related to

this case. Where possible, communications with Ms. Lundy should be as

follows:

      Ms. Sherri Lundy
      Courtroom Deputy Clerk
      2121United States Courthouse
      75 Ted Turner Dr., SW Atlanta, GA 30303-3309
      Sherri Lundy@gand.uscourts.gov (preferred method)
      (404) 215-1481


Neither the parties nor their counsel should discuss the merits of the case

with Ms. Lundy or any of the Court's law clerks.


      b.      Transcripts

      Communication regarding transcripts should be directed to the Official

Court Reporter, Wynette Blathers, at Wynette_Blathers@gand.uscourts.gov

or (404) 215-1547. If any party desires daily copy or rough draft copy of a

proceeding, that party must contact Ms. Blathers at least two weeks before the

proceeding.


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      c.     Attorneys

             i.    Admission of Counsel Pro Hac Vice

      In the event that lead counsel has been admitted pro hac vice, local

counsel is required to be familiar with the case and may be called upon to

attend hearings or participate in conferences on behalf of the lead counsel.

             ii.   Electronic Registration for All Counsel

      All counsel — including counsel admitted pro hac vice — must register

and participate in the Court’s electronic filing system, CM/ECF (Case

Management/Electronic Case Filing). Standing Order 04-01 states,

             Effective July 15, 2005, absent good cause shown and the
             permission of the Court, attorneys in good standing
             admitted to practice before the Bar of this Court, to include
             attorneys admitted pro hac vice, will file, sign, and verify
             documents only by electronic means to the extent and in
             the manner authorized by this Standing Order, Local Rule
             5.1 A. NDGa., and the administrative procedures attached
             hereto as Exhibits A and B, Administrative Procedures for
             Filing, Signing, and Verifying Pleadings and Papers by
             Electronic Means in Civil and Criminal Cases in the
             United States District Court for the Northern District of
             Georgia (Administrative Procedures).




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             iii.   Leaves of Absence

      Counsel are encouraged to review their calendars and submit as early

as possible any requests for leave of absence. Leave requests shall comply

with Local Rule 83.1, NDGa.

             iv.    Withdrawal or Substitution of Counsel

      It is counsel’s responsibility to keep the Court informed of any change

of its status. Counsel should comply with Local Rule 83.1, NDGa, when

substituting or withdrawing as counsel. Counsel who do not comply with this

Local Rule will not be allowed to withdraw from the case until compliance is

achieved.

             v.     Corporate Representation

      Corporate entities must be represented in court by an attorney. A

corporate officer may not represent the corporation unless that officer is also

licensed to practice law in the state of Georgia. Local Rule 83.1, NDGa, states:

             a corporation may only be represented in court by an
             attorney, that a(n) attorney must sign all pleadings
             submitted to the court, and that a corporate officer may not
             represent the corporation in court unless that officer is also
             an attorney licensed to practice law in the state of Georgia,
             and that failure to comply with this rule could result in a
             default being entered against the corporate party.
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Failure to comply with this rule can result in dismissal of a corporation’s

complaint or default being entered against the corporation.



      d.     Pro Se Litigants

      Parties proceeding pro se (without an attorney) are advised that they

must comply with the Federal Rules of Civil Procedure ("Fed. R. Civ. P."), as

well as the Local Rules of the United States District Court for the Northern

District of Georgia ("LR, NDGa"). Pro se litigants also may utilize the

Eleventh Circuit’s law library located in the Elbert P. Tuttle U.S. Court of

Appeals Building at 56 Forsyth Street, N.W., Atlanta, Georgia 30303. Many

documents are also available on the

Court’s website at www.gand.uscourts.gov. Prose litigants may also utilize

the law library located on the 23rd floor of the United States Courthouse.

      Counsel and parties representing themselves are prohibited from

engaging in ex parte communications with the Court or the Court’s staff,

except as to scheduling matters and procedures. "Ex parte communications"

mean any form of contact with the Court outside the presence of the opposing

party or opposing party's counsel. This includes, but is not limited to,
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telephone calls, written correspondence, or in-person contact by one party or

party’s counsel. If counsel or a pro se litigant seeks court action, the

appropriate procedure is to put the request in writing in the form of a motion,

file the motion with the Clerk's Office, and serve the opposing party or party’s

counsel. See FED. R. CIV. P. 5; LR 5.1-5.2, NDGa; see also LR 7.4, NDGa

("Communications to judges seeking a ruling or order, including an extension

of time, shall be by motion and not by letter. A letter seeking such action

ordinarily will not be treated as a motion.").

      The Clerk of Court and the U.S. Marshals Service will not serve

documents filed by either party unless expressly directed to do so by the Court.

The Court will only direct the Clerk or the U.S. Marshals Service to serve in

the following instances: (1) in the event a plaintiff is granted leave to proceed

in forma pauperis (without pre-payment of fees) and survives a frivolity

review, the Court will direct the Clerk to prepare (and deliver to the U.S.

Marshals Service if necessary) a service package containing the case initiating

document(s), or (2) in exceptional circumstances under the Court's discretion.

The National Association of Professional Process Servers provides a search

engine for locating process servers across the nation at its website

(www.napps.org).
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      A pro se plaintiff is (1) to provide the Clerk with an original of any

further pleadings or other papers filed with the Court after the Complaint, and

(2) is further REQUIRED to SERVE upon the defendant(s) or counsel for the

defendant(s) by mail or by hand delivery, under Rule 5 of the Federal Rules

of Civil Procedure, a copy of every additional pleading or other paper

described in Rule 5 of the Federal Rules of Civil Procedure.

      Each pleading or paper described in Rule 5, including pleadings, papers

related to discovery required to be served, motions, notices, and similar

papers, shall include a certificate stating the date on which an accurate copy

of that pleading or document was mailed or hand-delivered to the defendants

or their counsel. The Court shall disregard any papers submitted which have

not been properly filed with the Clerk or which do not include a certificate of

service.

      Pro se parties are further REQUIRED to keep the Court advised of their

current address at all times during the pendency of the lawsuit. Local Rule

83.l(D)(3) provides that counsel and parties appearing pro se, in all cases, have

a duty to notify the Clerk's Office by letter of any change in address and/or

telephone number. Per this rule, "[a] failure to keep the clerk's office so

informed which causes a delay or otherwise adversely affects the management
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of a civil case shall constitute grounds for dismissal without prejudice or entry

of a judgment by default."


      e.     Courtesy Copies

      Parties frequently forward copies of motions or other filings directly to

chambers for the Court's convenience. Courtesy copies are not required,

except for emergency motions filed pursuant to Local Rule 7.2(B), and

motions for temporary restraining orders and/or preliminary injunctions.

Courtesy copies of motions for summary judgment that have voluminous

exhibits may be submitted to chambers. Courtesy copies of such emergency

motions, motions for temporary restraining orders, and/or motions for

preliminary injunctions should be hand-delivered to chambers in Room 1721

on the 17th floor of the Richard B. Russell Federal Building. Courtesy copies

of motions for summary judgment that have voluminous exhibits may be

either hand-delivered to chambers in Room 1721 or submitted via regular mail

to the attention of the Courtroom Deputy Clerk at the address provided above.




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        f.    Proposed Orders

        For all consent, unopposed, or joint motions, the filing party shall

include therewith a proposed order granting the motion.




II.     CASE MANAGEMENT


        a.    Conferences

        Scheduling, discovery, pretrial, and settlement conferences promote the

speedy, just, and efficient resolution of cases. Therefore, the Court encourages

the parties to request a conference with the Court when counsel believes that

a conference will be helpful, and counsel have specific goals and an agenda

for the conference. Conferences may be requested by contacting Ms. Lundy.



        b.    Discovery

              i.    Discovery Responses – Boilerplate and General
                    Objections


        Boilerplate objections in response to discovery requests are strictly

prohibited. Parties should not carelessly invoke the usual litany of rote

objections; i.e., attorney-client privilege, work-product immunity from
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discovery, overly broad/unduly burdensome, irrelevant, not reasonably

calculated to lead to the discovery of admissible evidence.

      Moreover, general objections are prohibited; i.e., a party shall not

include in a response to a discovery request a "Preamble" or a "General

Objections" section stating that the party objects to the discovery request "to

the extent that" it violates some rule pertaining to discovery; e.g., attorney-

client privilege, work-product immunity from discovery, and the prohibition

against discovery requests that are vague, ambiguous, overly broad, or unduly

burdensome. Instead, each individual discovery response must be met with

every specific objection thereto-but only those objections that actually apply

to that particular request. Otherwise, it is impossible for the Court or the party

upon whom the discovery response is served to know exactly what objections

have been asserted to each individual request. All such general objections

shall be disregarded by the Court.

      Finally, a party who objects to a discovery request, but then responds

to the request, must indicate whether the response is complete; i.e., whether

additional information or documents would have been provided but for the

objection(s). For example, in response to an interrogatory, a party is not

permitted to raise objections and then state, "Subject to these objections and
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without waiving them, the response is as follows ... " unless the party

expressly indicates whether additional information would have been included

in the response but for the objection(s).

             ii.    Discovery Timing

      All discovery requests must be served early enough so that the

responses thereto are due on or before the last day of the discovery period.

The Court typically will not compel responses to discovery requests that were

not served in time for responses to be made before the discovery period ended.

Potential expert witnesses must also be identified early enough to allow said

witness to be deposed within the discovery period.

             iii.   Discovery Disputes

      Prior to filing a discovery motion, the movant-after conferring with the

respondent in a good faith effort to resolve the dispute by agreement-should

contact Ms. Lundy and advise her that the movant seeks relief with respect to

a discovery matter. Ordinarily, Ms. Lundy will request that each side submit

a brief statement of the issues (a 1-2 page letter). The Court will either decide

the matter based on the submissions, schedule a conference call with counsel,

or authorize counsel to file a formal motion.



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      The Court is usually available by telephone to resolve objections and

disputes that arise during depositions. Counsel should call Ms. Lundy to

request that the Court hear the objections.



      c.     Consent Protective Confidentiality Orders and Filing
             Documents Under Seal

      The Court disfavors the excessive use of consent protective

confidentiality orders that allow counsel to designate documents, tangible

things, and information as "Confidential" and/or "Confidential - For

Attorney's Eyes Only." While the Court recognizes the legitimacy of such

orders in some cases, the Court's experience is that such orders are used-and

abused-more often than truly necessary.

      As a guide to counsel, the Court notes that documents, tangible things,

and information ordinarily are not truly confidential unless they constitute

either (1) a "trade secret," as defined by Section 1(4) of the Uniform Trade

Secrets Act, or for cases applying Georgia law, O.C.G.A. § 10-1-761(4); (2)

personal identifying information, such as a Social Security number; or (3)

personal health information protected by the Health Insurance Portability and

Accountability Act.

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      If the parties find that a consent protective confidentiality order is

necessary, the following language should be included (and shall be deemed

included) therein:

             Any documents (including briefs), tangible things, or
             information designated as Confidential that are submitted
             to the Court in support of or in opposition to a motion or
             introduced at a hearing or during trial may retain their
             protected confidential status only by order of the Court in
             accordance with the procedures outlined in section II.c. of
             the Court's Standing Order Regarding Civil Litigation.


      Those procedures are as follows. For documents filed other than during

a hearing or trial, counsel shall electronically file on CM/ECF a motion to seal

that lists the document(s) that counsel wants filed under seal and a proposed

order granting the motion. The documents that counsel wishes to be sealed

should be provisionally filed on CM/ECF, per the directions set out in

Procedures for Electronic Filing Under Seal in Civil Cases on the Court's

website under "Electronic Case Filing Info." (See also Appendix H to the

Local Rules.) Counsel should not send paper copies of the documents to

chambers or to the Clerk's office.




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      For tangible things other than documents, the parties shall deliver the

items to Ms. Lundy in chambers, along with a proposed order permitting the

tangible things to be filed under seal.



      d.     Brief Nomenclature

      Briefs should be titled and entered on CM/ECF as follows. The initial

brief of a movant should be titled "Brief in Support of [state the motion]." The

brief of the responding party should be titled "[name of respondent]’s

Response in Opposition to [state the motion]." The reply of the moving party

should be titled "Reply in Support of [state the motion]." Though surreplies

should not be filed in the normal course, if the Court authorizes a reply, it

should be titled "[name of party filing the surreply]'s Surreply to [name of

motion]."



      e.     Electronic Filing of Exhibits and Attachments

      The parties should make every effort to label all electronically uploaded

exhibits and attachments according to their content to assist the Court in

making its ruling. For example, the Court would prefer to have documents



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uploaded as Ex. A: Smith Deposition, Ex. B: Employment Contract, and Ex.

C: Jones Letter, rather than Ex. A., Ex. B, and Ex. C.



      f.      Motions for Temporary Restraining Order or Preliminary
              Injunction

      Any request for a temporary restraining order or for preliminary

injunctive relief must be made by separate motion. A request for temporary

restraining order or preliminary injunction found only in the complaint will

not be considered. After filing an appropriate motion, the movant must contact

Ms. Lundy to request expedited consideration and/or a herein thereon.



      g.      Motions to Dismiss

      Without seeking leave of court, no party may file more than one motion

to dismiss, except in the case where a plaintiff has filed an amended

complaint. In that case, a defendant may file a new motion to dismiss. If there

are multiple defendants who are represented by the same counsel, then said

counsel may only file one motion to dismiss applicable to any or all said

defendants.




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      h.     Motions for Summary Judgment

             i.     Record References

      All citations to the record evidence should be contained in each party's

brief, not just in the party’s statement of undisputed (or disputed) facts.

When filing a brief in support of or in opposition to a motion for summary

judgment, the party shall simultaneously file the original transcript of each

deposition referenced in the brief. The party should include in the brief,

immediately following the deposition reference, a citation indicating the page

and line numbers of the transcript where the referenced testimony can be

found. The party should also attach to the brief a copy of the specific pages of

the deposition that are referenced in the brief. The party should not attach to

the brief a copy of the entire deposition transcript.

             ii.    Statement of Material Facts & Response

      In addition to following the form instructions set out in Local Rule

56.l(B), a party responding to a statement of material fact shall copy into its

response document the numbered statement to which it is responding and

provide its response to that statement immediately following. A party that

chooses to reply to a response shall copy into its reply document its original

numbered statement of material fact and the opposing party's response, then
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provide its reply to that statement immediately following. Each party shall file

its documents in text-searchable PDF format.

             iii.   Filing of Multiple Motions Prohibited

      Without seeking prior leave of court, no party shall file more than one

motion for summary judgment and/or motion for partial summary judgment.

If the same counsel represents more than one party in the case (i.e. one or

more plaintiffs, or one or more defendants), then any motion for summary

judgment or motion for partial summary judgment filed by said counsel shall

be on behalf of any and all parties which said counsel represent, if applicable.

In other words, counsel will not be allowed to file separate motions for

summary judgment and/or for partial summary judgment for his or her

respective clients without the Court’s permission.




      i.     Requests for Oral Argument on Motions

      In accordance with the Local Rules, motions may be decided without

oral argument, but the Court may order oral argument on any issue which it

believes a hearing would be helpful and will consider any request for hearing.

Moreover, the Court shall grant a request for oral argument on a contested,

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substantive motion if the request states that a lawyer who is less than seven

years out of law school will conduct the oral argument on at least one

substantial issue in the case, it being the Court's belief that young lawyers

need more opportunities for Court appearances than they usually receive.

Motions to dismiss and motions for summary judgment will be noticed for

hearings to occur at least forty-five (45) days after the filing date. If an

amended pleading is filed, attorneys should docket a “Withdrawal of Motion”

as to any mooted motions.



      j.     Proposed Findings of Fact and Conclusions of Law

      When counsel is required to submit proposed findings of fact and

conclusions of law, see LR 16.4(B)(25), NDGa, in addition to electronically

filing the same, counsel should provide an electronic copy thereof in text-

searchable PDF format to the law clerk assigned to the case.



      k.     Pretrial Order

      If a motion for summary judgment is pending, the proposed

consolidated Pretrial Order ordinarily is required to be filed within thirty (30)



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days after the entry of an order ruling on the motion for summary judgment,

unless a specific date is set.

       The statement of contentions in the Pretrial Order governs the issues to

be tried, except that the Plaintiff(s) is not allowed to enlarge the claims

asserted or change the nature of said claims from those asserted in the

Complaint, or any amendment thereof, if any other party objects. New,

different, or additional claims normally must only be added pursuant to an

amended complaint. In listing witnesses or exhibits, a party may not reserve

the right to supplement their list, nor may a party adopt another party’s list by

reference. Witnesses and exhibits not identified in the Pretrial Order may not

be used during trial, unless it is necessary to allow it to be introduced to

prevent a manifest injustice.



       l.     Pretrial Conference, Motions in Limine, Daubert Motions

       The Court will conduct a pretrial conference. The purpose of the

conference is to simplify the issues to be tried and to rule on motions in limine

and Daubert motions.

       Motions in limine and Daubert motions must be filed at least fourteen



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(14) days before the pretrial conference. Responses to the motions are due

seven (7) days before the pretrial conference.



      m.     Courtroom Technology

      Our courtroom has various electronic equipment for use by counsel at

trial. For more information on the equipment or to schedule an opportunity to

test the equipment, please contact the Courtroom Deputy Clerk Ms. Lundy. It

is the parties' responsibility to make sure they know how to use the available

equipment, to have the cables necessary to hook up their equipment, and to

ensure that their equipment will interface with the Court's technology.

      Any party or counsel without a blue attorney ID card issued through the

U.S. Marshals Service who would like to bring into the courthouse electronic

equipment, such as a laptop computer or cell phone with a camera, must

submit to the Court a proposed order allowing the same. The proposed order

should identify the electronic equipment, specify the date(s) of the hearing or

trial to which the party or counsel desires to bring the equipment, and identify

the courtroom to which the equipment will be brought. This should be done

not less than three (3) business days prior to the hearing or trial to allow for

proper notification to the U.S. Marshals Service.
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       n.     Jury Trials

       The Court usually is in session from 9:30 a.m. until 5:00 p.m. There

will be a fifteen (15) minute recess mid-morning and again mid-afternoon, as

well as a lunch break. Counsel should be present each day of trial at 9:00 a.m.

       When the jury is in the courtroom, it is the Court’s and the litigants’

responsibility to use the jury’s time efficiently. If matters need to be taken up

outside the presence of the jury, they should be raised during breaks or before

the start of the trial day.

       Voir dire will be conducted as follows. In civil cases that are not

expected to last more than two (2) weeks, the Court will normally empanel

eight (8) jurors, none of whom will serve as an alternate. (If the trial is

estimated to last less than one (1) week, then seven (7) jurors might be used).

The panel from which the eight (8) will be selected will normally consist of

twenty (20) prospective jurors. If counsel anticipate the need for a larger

panel, e.g., in cases with media attention or in cases involving a mutual

insurance company (which may be owned in part by one or more panel

members), counsel should alert the Court promptly upon calendaring of the

case for trial.
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      The jurors will enter the courtroom and be seated in the order listed on

the juror list. The Court will briefly inform the jury of the name and nature of

the case, and will then collectively ask the jurors a list of qualifying questions.

The Court will then allow each party to conduct general voir dire by asking

questions collectively to the entire panel. Thereafter, the parties will be

allowed to question each juror individually. Each juror will be identified by

name (one at a time), and then counsel for each side will be allowed to ask

questions to said juror.

      The jury will then be excused from the courtroom for a ten-minute

recess. Once the jury is excused, the parties shall make motions to strike any

juror(s) for cause. Prior to returning the jury to the courtroom, the Court will

consider any requests by counsel to ask any brief, follow-up questions to any

particular juror(s). After the Court rules on any such requests, the jury will be

brought back into the Courtroom. After the attorneys ask the follow-up

questions (if any), counsel shall strike the jury. Each side shall be entitled to

three (3) peremptory strikes. The Courtroom Deputy Clerk will pass the

peremptory strike sheet back and forth between counsel, beginning with

plaintiff, and counsel will write one juror number to be stricken. This will

continue until each side has exercised its allotted strikes. At this time, counsel
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may make motions challenging the makeup of the jury at a sidebar. Once any

such motions are resolved, the Court will then call the names of the jurors who

have been selected, and they shall take a seat in the jury box. The remaining

panel will be excused, and the selected jury will be sworn.

      Opening statements are generally limited to twenty (20) minutes per

side. Closing arguments generally are limited to thirty (30) minutes per side.

Parties requesting more time for these presentations must seek leave of Court

at the pretrial conference. During opening statement, counsel may refer to the

contents of, and show the jury, exhibits — provided that counsel is unaware

of a genuine issue as to the admissibility of the exhibit into evidence and

counsel genuinely expects that each such exhibit will be admitted into

evidence.

      It is each party’s responsibility to have enough witnesses on hand for

each day’s proceedings.

      To assist the Court Reporter, all communications to the Court should

be made before a microphone from a position at counsel table or from the

lectern. During trial, a portable microphone is available that will allow counsel

to move about the courtroom. Any witness not testifying from the witness

stand must also use a portable microphone.
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         Counsel should refrain from making disparaging remarks or displaying

ill will toward other counsel, and from causing or encouraging any ill feeling

among the litigants. Counsel and litigants are to refrain from making gestures,

facial expressions, or audible comments as manifestations of approval or

disapproval of testimony, argument, or rulings by the Court.

         Arrangements with the Courtroom Deputy Clerk for the use of

chalkboards, view boxes, tripods, or other visual aids should be made

sufficiently in advance so that they may be set up while court is not in session.

         Exhibits must be examined and pre-marked before trial in compliance

with Local Rule 16.4, NDGa. A notebook containing pre-marked copies of all

exhibits should be tendered to the Courtroom Deputy Clerk prior to the start

of trial for use by the Judge on the bench during proceedings. The original set

used by witnesses will be retained by the Clerk for docketing. Also, prior to

trial, all parties must provide the Court both a list of all witnesses such party

may call and a numbered list of all exhibits which said party may seek to

admit.

         Because enlarged exhibits and demonstrative boards are often placed

on an easel in front of the jury and, thus, out of the Court’s view, it would be

helpful if counsel, when showing such an exhibit or board to the jury, would
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provide the Court with a small (e.g., letter or legal-sized) copy of the exhibit

or board so that the Court can view its contents.

      All papers intended for the Judge should be handed to the Courtroom

Deputy Clerk, Ms. Lundy, who will pass them to the Judge. Counsel are not

required to obtain permission from the Judge to approach a witness in order

to show the witness an exhibit or other document.

      Only one attorney per party may object to the testimony of a witness

being questioned by an opposing party. The objection must be made by the

attorney who has conducted or is to conduct the examination of the witness.

Only one attorney for each party may address the Court during the charge

conference.

      Examination of a witness should be limited to questions addressed to

the witness. Counsel are to refrain from making extraneous statements,

comments, or remarks during examination.

      Offers or requests for stipulations should be made privately, not within

the hearing of the jury.

      Counsel should refrain from putting any matter before the jury in the

form of a question that counsel knows or expects will be subject to an



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objection that is likely to be sustained. Such matters should be taken up with

the Court outside the presence of the jury.

         Counsel should not ordinarily make motions in the presence of the jury.

Such matters may be raised at the first recess or at sidebar. A motion for

mistrial must be made immediately, but the Court may require argument at

the next recess or excuse the jury. When making an objection, counsel shall

state only the legal basis of the objections (e.g., “leading” or “hearsay”) and

should not elaborate, argue, or refer to other evidence unless asked to do so

by the Judge.

         Counsel are prohibited from addressing comments or questions to each

other. All arguments, objections and motions should be addressed to the

Court.

         The Court expects five (5) to six (6) hours of testimony per day in jury

trials and will not allow sidebar conferences or lengthy hearings outside the

presence of the jury to disrupt the orderly presentation of evidence.



         o.    Jury Charges

         Ordinarily, the Court will charge the jury after closing argument. The

parties must file, and email to the Courtroom Deputy Clerk in Microsoft Word
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format, a single, unified set of proposed jury instructions on the law applicable

to the specific case. These instructions must be filed no later than the morning

of day one (1) of the trial. Where an instruction is not agreed upon, the parties

should indicate who is proposing the instruction and the legal basis for the

instruction and for the other party’s opposition to the instruction. The Court

will not accept supplemental jury charges from the parties that are submitted

later than a day prior to the end of trial, unless manifest justice so requires.

The parties must orally request leave of court to file supplemental jury

charges. The jury will be provided with a written copy of the jury charge.

      This 18th day of October, 2022.




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